Case 3:17-cv-06436-PGS-DEA Document 11-2 Filed 10/24/17 Page 1 of 2 PageID: 137




                Exhibit B
                                  Case 3:17-cv-06436-PGS-DEA Document 11-2 Filed 10/24/17 Page 2 of 2 PageID: 138

                                                                                         Losses of Sridhar Dutta in Dr. Reddy's Laboratories (RDY)
Client Name               Sridhar Dutta
Company Name         Dr. Reddy's Laboratories                        90 Day Lookback Average $34.2321                                         LIFO Loss         $                (5,552.55) Sale Price
Ticker Symbol                 RDY                                                                                                                               $                (5,456.58) Average Price
Class Period Start          6/17/2015
Class Period End            8/10/2017
                                                                                                              SALE PRICE
 Acquisition Date    Quantity of Securities     Price Per Security       Total Cost        Disposition      Number of       Price Per          Total Proceeds   Securities Held at Close     Per Security    Retained       Total
                         Purchased                                                            Date        Securities Sold Security (Sale)        from Sale          of Class Period         Value (90 Day)    Value     Proceeds/Loss
     7/27/2017                1,371                 38.100000        $       52,235.10      9/6/2017           1,371                  34.05      $46,682.55               0.00                 $34.2321      $     -    $    (5,552.55)


                                                                                            MEAN CLOSING PRICE ON DATE OF SALE
 Acquisition Date    Quantity of Securities     Price Per Security       Total Cost        Disposition   Number of       Price Per     Total Proceeds           Securities Held at Close     Per Security    Retained       Total
                         Purchased                                                            Date     Securities Sold Security (Avg.)   from Sale                  of Class Period         Value (90 Day)    Value     Proceeds/Loss

    7/27/20017                1,371                 38.100000        $       52,235.10      9/6/2017           1,371          34.119999          $46,778.52               0.00                 $34.2321      $     -    $    (5,456.58)
